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Attorney for Debtors

                IN THE UNITED STATES BANKRUPTCY COURT FOR

                  THE DISTRICT OF ARIZONA, PHOENIX DIVISION

In Re:                                         Chapter 13

CATHERINE ANN WILLIAMSON,                      Case No. 2:15-bk-15653
                                                        2:16-bk-00788
               Debtor.


In Re:                                         AMENDED SCHEDULES A/B, C, I AND J

ROBERT LANCASTER WILLIAMSON,
III.,                                          (Jointly Administered)

              Debtor.

This pleading applies to the case or cases a
noted above.




                         AMENDED SCHEDULES A/B, C, I AND J - PAGE 1



Case 2:15-bk-15653-PS        Doc 83 Filed 03/28/17 Entered 03/28/17 10:24:58   Desc
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 Fill in this information to identify your case and this filing:

 Debtor 1                    CATHERINE ANNE WILLIAMSON
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    ROBERT LANCASTER WILLIAMSON, III
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF ARIZONA

 Case number            15-15653; 16-00788                                                                                                                       Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        2272 S. McCLELLAND PLACE                                                       Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Chandler                          AZ        85286-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $700,293.00                $700,293.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee Simple
        Maricopa                                                                       Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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 Debtor 2         ROBERT LANCASTER WILLIAMSON, III                                                                              Case number (if known)          15-15653; 16-00788

        If you own or have more than one, list here:
 1.2                                                                         What is the property? Check all that apply
        5829 COPPERWOOD LANE #1129                                                    Single-family home                              Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                            the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                      Current value of the           Current value of the
        Dallas                            TX        75248-0000                        Land                                            entire property?               portion you own?
        City                              State              ZIP Code                 Investment property                                      $52,550.00                     $52,550.00
                                                                                      Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                      Other                                           (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one           a life estate), if known.
                                                                                      Debtor 1 only                                   Fee Simple
        Dallas                                                                        Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                      At least one of the debtors and another              (see instructions)
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                              $752,843.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:     LEXUS                                               Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                    SC430 CONVERTIBLE                                                                                                  the amount of any secured claims on Schedule D:
          Model:    2DOOR                                                  Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:     2002                                                   Debtor 2 only                                               Current value of the          Current value of the
          Approximate mileage:   56,000                                    Debtor 1 and Debtor 2 only                                  entire property?              portion you own?
          Other information:                                               At least one of the debtors and another
         GOOD CONDITION
         Location: 2272 S.                                                 Check if this is community property                                 $12,153.00                     $12,153.00
         MCCLELLAND PLACE,                                                 (see instructions)

         Chandler AZ 85286


  3.2     Make:     LEXUS                                               Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                    GX470 SPORT UTILITY                                                                                                the amount of any secured claims on Schedule D:
          Model:    4DOOR                                                  Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:     2003                                                   Debtor 2 only                                               Current value of the          Current value of the
          Approximate mileage:    90,000                                   Debtor 1 and Debtor 2 only                                  entire property?              portion you own?
          Other information:                                               At least one of the debtors and another
         GOOD CONDITION
         Location: 2272 S.                                                 Check if this is community property                                   $8,119.00                      $8,119.00
         MCCLELLAND PLACE,                                                 (see instructions)

         Chandler AZ 85286




Official Form 106A/B                                                             Schedule A/B: Property                                                                                page 2
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 Debtor 2       ROBERT LANCASTER WILLIAMSON, III                                                                    Case number (if known)      15-15653; 16-00788

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

      No
      Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>             $20,272.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                 Current value of the
                                                                                                                                                   portion you own?
                                                                                                                                                   Do not deduct secured
                                                                                                                                                   claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    KITCHEN TABLE AND CHAIRS 100.00; DINING ROOM TABLE AND
                                    CHAIRS 200.00; 3 COUCHES 1,500.00; 4 LIVING ROOM CHAIRS
                                    400.00; 2 LIVING ROOM RUGS 200.00; COFFEE TABLE 25.00; 9
                                    PICTURES, PAINTINGS AND/OR FAMILY PORTRAITS 4,500.00; 5
                                    BEDS 900.00; 6 NIGHTSTANDS, 3 DRESSERS, 6 BEDROOM
                                    LAMPS 350.00; 16 TELEVISIONS 900.00; STEREO 200.00; RADIO
                                    ALARM CLOCK 10.00; STOVE 100.00; REFRIGERATOR 250.00;
                                    WASHING MACHINE AND DRYER 250.00; VACUUM CLEANER
                                    20.00; 2 COMPUTERS 100.00; CAMERA 150.00; COMPUTER DESK,
                                    FAX/PRINTER 300.00; OTHER MISCELLANEOUS HOUSEHOLD
                                    GOODS AND FUNISHINGS 2,250.00
                                    Location: 2272 S. MCCLELLAND PLACE, Chandler AZ 85286                                                                     $12,705.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
        No
        Yes. Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    TENNIS RACKET
                                    Location: 2272 S. MCCLELLAND PLACE, Chandler AZ 85286                                                                           $30.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....




Official Form 106A/B                                                   Schedule A/B: Property                                                                         page 3
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 Debtor 2         ROBERT LANCASTER WILLIAMSON, III                                                                            Case number (if known)   15-15653; 16-00788

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            CLOTHING
                                            Location: 2272 S. MCCLELLAND PLACE, Chandler AZ 85286                                                                      $1,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            6 WATCHES 4,900.00; WEDDING BANDS 1,200.00; BRACELETS
                                            800.00; RING, NECKLACES, EARINGS $1,500.00
                                            Location: 2272 S. MCCLELLAND PLACE, Chandler AZ 85286                                                                      $8,400.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                           $22,135.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                              Current value of the
                                                                                                                                                          portion you own?
                                                                                                                                                          Do not deduct secured
                                                                                                                                                          claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                 Cash                                  $1,040.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:
                                                          CHECKING,
                                                          ACCOUNT
                                                          NUMBER ENDING
                                              17.1.       IN 4758                                 WELLS FARGO BANK                                                       $112.69

                                                          CHECKING;
                                                          ACCOUNT
                                                          NUMBER ENDING
                                              17.2.       IN 5713                                 NEIGHBORHOOD CREDIT UNION                                                  $0.00




Official Form 106A/B                                                                       Schedule A/B: Property                                                            page 4
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 Debtor 2         ROBERT LANCASTER WILLIAMSON, III                                                               Case number (if known)   15-15653; 16-00788

                                                                               TD BANK; ACCOUNT NUMBER ENDIGN IN
                                         17.3.    Checking                     5536                                                                          $89.10


                                                                               DESERT SCHOOLS FEDERAL CREDIT
                                         17.4.    Savings                      UNION; ACCOUNT NUMBER ENDING IN 3410                                          $40.10



                                         17.5.    Savings                      DESERT SCHOOLS FEDERAL CREDIT UNION                                           $95.87


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                    Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                % of ownership:

                                            R W III, INC                                                               100          %                    Unknown


                                            VICKI'S VODKA LLC                                                         66.66         %                    Unknown


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                               Institution name:

                                         IRA                                   ETRADE                                                                  $11,009.19


                                         401(k)                                FIDELITY INVESTMENTS                                                        $406.33


                                         401(k)                                ETRADE                                                                    $5,505.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                             Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
Official Form 106A/B                                                    Schedule A/B: Property                                                                 page 5
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 Debtor 2        ROBERT LANCASTER WILLIAMSON, III                                                        Case number (if known)      15-15653; 16-00788

        Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
        Yes. Give specific information about them...

                                              DOMAIN NAME AND TRADEMARKS                                                                             Unknown


27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                  Beneficiary:                             Surrender or refund
                                                                                                                                         value:

                                         PHOENIX LIFE INSURANCE                                 CATHERINE ANNE
                                         COMPANY; WHOLE LIFE                                    WILLIAMSON                                           $8,000.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........


Official Form 106A/B                                                 Schedule A/B: Property                                                                page 6
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 Debtor 2         ROBERT LANCASTER WILLIAMSON, III                                                                                      Case number (if known)   15-15653; 16-00788

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
      No
        Yes. Describe each claim.........

                                                             CIVIL CLAIMS FOR MONEY DAMAGES, ROBERT
                                                             WILLIAMSON, III, VICKI'S VODKA v. VICTORIA L.
                                                             GUNVALSON AND DAVID BROOKS AYERS;
                                                             2:13-cv01019-JAD-GWF, 2:13-cv-02022-JAD-GWF; CASE
                                                             PENDING REGARDING VICKI'S VODKA                                                                                    Unknown


35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $26,298.28


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................              $752,843.00
 56. Part 2: Total vehicles, line 5                                                                           $20,272.00
 57. Part 3: Total personal and household items, line 15                                                      $22,135.00
 58. Part 4: Total financial assets, line 36                                                                  $26,298.28
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $68,705.28              Copy personal property total            $68,705.28

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $821,548.28




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 7
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 Fill in this information to identify your case:

 Debtor 1                 CATHERINE ANNE WILLIAMSON
                          First Name                        Middle Name                 Last Name

 Debtor 2                 ROBERT LANCASTER WILLIAMSON, III
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF ARIZONA

 Case number           15-15653; 16-00788
 (if known)
                                                                                                                                          Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      5829 COPPERWOOD LANE #1129                                     $52,550.00                                $34,190.07      11 U.S.C. § 522(d)(1)
      Dallas, TX 75248 Dallas County
      Line from Schedule A/B: 1.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2002 LEXUS SC430 CONVERTIBLE                                   $12,153.00                                  $3,675.00     11 U.S.C. § 522(d)(2)
      2DOOR 56,000 miles
      GOOD CONDITION                                                                       100% of fair market value, up to
      Location: 2272 S. MCCLELLAND                                                         any applicable statutory limit
      PLACE, Chandler AZ 85286
      Line from Schedule A/B: 3.1

      2002 LEXUS SC430 CONVERTIBLE                                   $12,153.00                                  $8,478.00     11 U.S.C. § 522(d)(5)
      2DOOR 56,000 miles
      GOOD CONDITION                                                                       100% of fair market value, up to
      Location: 2272 S. MCCLELLAND                                                         any applicable statutory limit
      PLACE, Chandler AZ 85286
      Line from Schedule A/B: 3.1

      2003 LEXUS GX470 SPORT UTILITY                                  $8,119.00                                  $3,675.00     11 U.S.C. § 522(d)(2)
      4DOOR 90,000 miles
      GOOD CONDITION                                                                       100% of fair market value, up to
      Location: 2272 S. MCCLELLAND                                                         any applicable statutory limit
      PLACE, Chandler AZ 85286
      Line from Schedule A/B: 3.2



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
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 Debtor 2    ROBERT LANCASTER WILLIAMSON, III                                                            Case number (if known)     15-15653; 16-00788
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     2003 LEXUS GX470 SPORT UTILITY                                   $8,119.00                                  $3,441.86        11 U.S.C. § 522(d)(5)
     4DOOR 90,000 miles
     GOOD CONDITION                                                                        100% of fair market value, up to
     Location: 2272 S. MCCLELLAND                                                          any applicable statutory limit
     PLACE, Chandler AZ 85286
     Line from Schedule A/B: 3.2

     KITCHEN TABLE AND CHAIRS                                        $12,705.00                                $12,250.00         11 U.S.C. § 522(d)(3)
     100.00; DINING ROOM TABLE AND
     CHAIRS 200.00; 3 COUCHES                                                              100% of fair market value, up to
     1,500.00; 4 LIVING ROOM CHAIRS                                                        any applicable statutory limit
     400.00; 2 LIVING ROOM RUGS
     200.00; COFFEE TABLE 25.00; 9
     PICTURES, PAINTINGS AND/OR
     FAMILY PORTRAITS 4,500.00; 5
     BEDS 900.00; 6 NIGHTSTANDS, 3 DR
     Line from Schedule A/B: 6.1

     KITCHEN TABLE AND CHAIRS                                        $12,705.00                                    $455.00        11 U.S.C. § 522(d)(5)
     100.00; DINING ROOM TABLE AND
     CHAIRS 200.00; 3 COUCHES                                                              100% of fair market value, up to
     1,500.00; 4 LIVING ROOM CHAIRS                                                        any applicable statutory limit
     400.00; 2 LIVING ROOM RUGS
     200.00; COFFEE TABLE 25.00; 9
     PICTURES, PAINTINGS AND/OR
     FAMILY PORTRAITS 4,500.00; 5
     BEDS 900.00; 6 NIGHTSTANDS, 3 DR
     Line from Schedule A/B: 6.1

     CLOTHING                                                         $1,000.00                                    $470.00        11 U.S.C. § 522(d)(5)
     Location: 2272 S. MCCLELLAND
     PLACE, Chandler AZ 85286                                                              100% of fair market value, up to
     Line from Schedule A/B: 11.1                                                          any applicable statutory limit

     6 WATCHES 4,900.00; WEDDING                                      $8,400.00                                  $3,100.00        11 U.S.C. § 522(d)(4)
     BANDS 1,200.00; BRACELETS
     800.00; RING, NECKLACES,                                                              100% of fair market value, up to
     EARINGS $1,500.00                                                                     any applicable statutory limit
     Location: 2272 S. MCCLELLAND
     PLACE, Chandler AZ 85286
     Line from Schedule A/B: 12.1

     Cash                                                             $1,040.00                                  $1,040.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     CHECKING; ACCOUNT NUMBER                                               $0.00                                  $100.00        11 U.S.C. § 522(d)(5)
     ENDING IN 5713: NEIGHBORHOOD
     CREDIT UNION                                                                          100% of fair market value, up to
     Line from Schedule A/B: 17.2                                                          any applicable statutory limit

     Checking: TD BANK; ACCOUNT                                           $89.10                                    $89.10        11 U.S.C. § 522(d)(5)
     NUMBER ENDIGN IN 5536
     Line from Schedule A/B: 17.3                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
            Case 2:15-bk-15653-PS                             Doc 83 Filed 03/28/17 Entered 03/28/17 10:24:58                                        Desc
                                                              Main Document    Page 10 of 18
 Debtor 1    CATHERINE ANNE WILLIAMSON
 Debtor 2    ROBERT LANCASTER WILLIAMSON, III                                                            Case number (if known)     15-15653; 16-00788
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Savings: DESERT SCHOOLS                                              $40.10                                    $40.10        11 U.S.C. § 522(d)(5)
     FEDERAL CREDIT UNION; ACCOUNT
     NUMBER ENDING IN 3410                                                                 100% of fair market value, up to
     Line from Schedule A/B: 17.4                                                          any applicable statutory limit

     Savings: DESERT SCHOOLS                                              $95.87                                    $95.87        11 U.S.C. § 522(d)(5)
     FEDERAL CREDIT UNION
     Line from Schedule A/B: 17.5                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRA: ETRADE                                                     $11,009.19                                       100%        11 U.S.C. § 522(d)(10)(E)
     Line from Schedule A/B: 21.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     401(k): FIDELITY INVESTMENTS                                        $406.33                                      100%        11 U.S.C. § 522(d)(12)
     Line from Schedule A/B: 21.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     401(k): ETRADE                                                   $5,505.00                                       100%        11 U.S.C. § 522(d)(10)(E)
     Line from Schedule A/B: 21.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     DOMAIN NAME AND TRADEMARKS                                       Unknown                                    $2,300.00        11 U.S.C. § 522(d)(6)
     Line from Schedule A/B: 26.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     PHOENIX LIFE INSURANCE                                           $8,000.00                                $12,250.00         11 U.S.C. § 522(d)(8)
     COMPANY; WHOLE LIFE
     Beneficiary: CATHERINE ANNE                                                           100% of fair market value, up to
     WILLIAMSON                                                                            any applicable statutory limit
     Line from Schedule A/B: 31.1


 3. Are you claiming a homestead exemption of more than $155,675?
    (Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
            Case 2:15-bk-15653-PS                             Doc 83 Filed 03/28/17 Entered 03/28/17 10:24:58                                        Desc
                                                              Main Document    Page 11 of 18
 Fill in this information to identify your case:

 Debtor 1                  CATHERINE ANNE WILLIAMSON
                           First Name                         Middle Name              Last Name

 Debtor 2                  ROBERT LANCASTER WILLIAMSON, III
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               DISTRICT OF ARIZONA

 Case number           15-15653; 16-00788
 (if known)
                                                                                                                                        Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
                Case 2:15-bk-15653-PS                           Doc 83 Filed 03/28/17 Entered 03/28/17 10:24:58                                 Desc
                                                                Main Document    Page 12 of 18
 Fill in this information to identify your case:

 Debtor 1                     CATHERINE ANNE WILLIAMSON
                              First Name                            Middle Name        Last Name

 Debtor 2                     ROBERT LANCASTER WILLIAMSON, III
 (Spouse if, filing)          First Name                            Middle Name        Last Name


 United States Bankruptcy Court for the:                   DISTRICT OF ARIZONA

 Case number             15-15653; 16-00788
 (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                       No
                       Yes.


                         In which community state or territory did you live?           -NONE-          . Fill in the name and current address of that person.


                         Name of your spouse, former spouse, or legal equivalent
                         Number, Street, City, State & Zip Code

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

    3.1                                                                                                   Schedule D, line
                Name
                                                                                                          Schedule E/F, line
                                                                                                          Schedule G, line
                Number               Street
                City                                        State                       ZIP Code




    3.2                                                                                                   Schedule D, line
                Name
                                                                                                          Schedule E/F, line
                                                                                                          Schedule G, line
                Number               Street
                City                                        State                       ZIP Code




Official Form 106H                                                                 Schedule H: Your Codebtors                                      Page 1 of 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 2:15-bk-15653-PS                                 Doc 83 Filed 03/28/17 Entered 03/28/17 10:24:58                          Desc
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Fill in this information to identify your case:

Debtor 1                      CATHERINE ANNE WILLIAMSON

Debtor 2                      ROBERT LANCASTER WILLIAMSON, III
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF ARIZONA

Case number               15-15653; 16-00788                                                            Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation            HOUSEWIFE                                   SELF-EMPLOYED
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $              0.00       $            0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$           0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $           0.00              $      0.00




            Case
Official Form 106I 2:15-bk-15653-PS                  Doc 83 FiledSchedule
                                                                   03/28/17         Entered 03/28/17 10:24:58
                                                                          I: Your Income                                                Desc page 1
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Debtor 1   CATHERINE ANNE WILLIAMSON
Debtor 2   ROBERT LANCASTER WILLIAMSON, III                                                      Case number (if known)    15-15653; 16-00788


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00   $             0.00

5.   List all payroll deductions:
     5a.   Tax, Medicare, and Social Security deductions                                  5a.        $              0.00   $                0.00
     5b.   Mandatory contributions for retirement plans                                   5b.        $              0.00   $                0.00
     5c.   Voluntary contributions for retirement plans                                   5c.        $              0.00   $                0.00
     5d.   Required repayments of retirement fund loans                                   5d.        $              0.00   $                0.00
     5e.   Insurance                                                                      5e.        $              0.00   $                0.00
     5f.   Domestic support obligations                                                   5f.        $              0.00   $                0.00
     5g.   Union dues                                                                     5g.        $              0.00   $                0.00
     5h.   Other deductions. Specify:                                                     5h.+       $              0.00 + $                0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00   $                0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00   $                0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $        3,031.25
     8b. Interest and dividends                                                           8b.        $              0.00   $            0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $                0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
     8e. Social Security                                                                  8e.        $              0.00   $                0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $                0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $           3,031.25

10. Calculate monthly income. Add line 7 + line 9.                                    10. $                 0.00 + $        3,031.25 = $           3,031.25
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                  0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.    $          3,031.25
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: DEBTORS SELF EMPLOYMENT INCOME VARIES MONTH BY MONTH




            Case
Official Form 106I 2:15-bk-15653-PS               Doc 83 FiledSchedule
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                                                                       I: Your Income                                                    Desc page 2
                                                  Main Document        Page 15 of 18
Fill in this information to identify your case:

Debtor 1                 CATHERINE ANNE WILLIAMSON                                                         Check if this is:
                                                                                                               An amended filing
Debtor 2                 ROBERT LANCASTER WILLIAMSON, III                                                            A supplement showing postpetition chapter
(Spouse, if filing)                                                                                                  13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF ARIZONA                                                        MM / DD / YYYY

Case number           15-15653; 16-00788
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s       Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age               live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                                                                                      Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             1,186.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                 0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                 0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                 0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                 0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                 0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                             page 1
           Case 2:15-bk-15653-PS                     Doc 83 Filed 03/28/17 Entered 03/28/17 10:24:58                                            Desc
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Debtor 1     CATHERINE ANNE WILLIAMSON
Debtor 2     ROBERT LANCASTER WILLIAMSON, III                                                          Case number (if known)      15-15653; 16-00788

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                    0.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                    0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                    0.00
      6d. Other. Specify:                                                                    6d. $                                                    0.00
7.    Food and housekeeping supplies                                                           7. $                                                   0.00
8.    Childcare and children’s education costs                                                 8. $                                                   0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                   0.00
10.   Personal care products and services                                                    10. $                                                    0.00
11.   Medical and dental expenses                                                            11. $                                                    0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                    0.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                    0.00
14.   Charitable contributions and religious donations                                       14. $                                                    0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                     0.00
      15b. Health insurance                                                                15b. $                                                     0.00
      15c. Vehicle insurance                                                               15c. $                                                     0.00
      15d. Other insurance. Specify:                                                       15d. $                                                     0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       1,186.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       1,186.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               3,031.25
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              1,186.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              1,845.25

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: DEBTORS' MORTGAGE IS PROJECTED PENDING THE CONCLUSION OF THE MORTGAGE
                          LOAN MODIFICATION. ADDITONAL REGULAR MONTHLY EXPENSES ARE PAID THROUGH THE
                          BUSINESS. DEBTORS WILL FILE THE OPERATING STATEMENTS TO REFLECT THOSE EXPENSES PAID




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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                                                               United States Bankruptcy Court
                                                                       District of Arizona
            CATHERINE ANNE WILLIAMSON
 In re      ROBERT LANCASTER WILLIAMSON, III                                                          Case No.   15-15653; 16-00788
                                                                                 Debtor(s)            Chapter    13




                                                      AMENDED
                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                      I declare under penalty of perjury that I have read the foregoing document(s), consisting of    18   page(s),
            and that they are true and correct to the best of my knowledge, information, and belief.




 Date March 28, 2017                                                 Signature   /s/ CATHERINE ANNE WILLIAMSON
                                                                                 CATHERINE ANNE WILLIAMSON
                                                                                 Debtor


 Date March 28, 2017                                                 Signature   /s/ ROBERT LANCASTER WILLIAMSON, III
                                                                                 ROBERT LANCASTER WILLIAMSON, III
                                                                                 Joint Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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